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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                             CASE NO. 12-20291-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  ARMANDO GONZALEZ,

        Defendant.
  _______________________________/

                                              ORDER

         THIS CAUSE came before the Court on October 9, 2015 for a hearing on the

  Government’s Motion for Downward Departure Pursuant to Fed. R. Crim. P. 35 [ECF No. 651],

  and Defendant’s Motion in Support of Sentence Reduction [ECF No. 656].              After careful

  consideration of the parties’ Motions, a review of the file, and the statements made in open court

  regarding this Defendant’s level of cooperation as compared to the cooperation provided by

  several of his Co-Defendants, the Court finds it appropriate to grant the Motions and reduce

  Defendant’s sentence in recognition of the cooperation he has provided the Government in the

  prosecution of others.

         Being fully advised, it is ORDERED AND ADJUDGED that the Motions [ECF Nos.

  651 and 656] are GRANTED. An amended judgment will be entered separately.

         DONE AND ORDERED in Chambers at Miami, Florida this 9th day of October, 2015.



                                                         _________________________________
                                                         CECILIA M. ALTONAGA
                                                         UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
